[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]                         MEMORANDUM OF DECISION
The motions for protective order and to quash subpoenas are denied at this time except as to pricing/price structure. Information claimed by a defendant to be his or its trade secret shall be subject to a particularized identification by that defendant and later determination by the court and, in the interim, shall be subject to the following:
                            PROTECTIVE ORDER
1. Until further order of the court, which order shall be made not later than the completion of jury selection, all information, documents and transcripts which the parties may obtain through the depositions of the defendants, including persons designated pursuant to Practice Book § 244(g) 6 and which the defendants particularly identify in good faith as a trade secret shall not be disseminated, shown, disclosed, divulged or transmitted by any one to any person or organization other than the parties to this lawsuit and their respective attorneys and to any investigators and potential expert witnesses retained by the parties to this lawsuit or their attorneys and stenographic personnel with a need and obligation to see and receive the same, PROVIDED, that no such information or document shall be disseminated, shown, disclosed, divulged or transmitted CT Page 13568 to any person whatsoever, other than to the parties and their attorneys, unless and until such other person first is shown a copy of this protective order, reads it, agrees to be bound by its terms and to the terms of any order supplementing this order, and signifies his or her agreement by signing both pages of this order.
2. All such documents and transcripts which an attorney representing any of the parties believes in good faith may be entitled to protection from disclosure after the completion of jury selection, shall be marked "CONFIDENTIAL: SUBJECT TO COURT ORDER" and shall be submitted to the court for review and appropriate order before being released from the protection afforded by this order.
3. Whenever any pleading, document or motion referencing, incorporating or attaching any documents described in paragraph 2 of this order is filed with the court or delivered to any judge thereof, it shall be filed or delivered under seal pending review by the court or judge and shall be marked by the party filing or delivering same "CONFIDENTIAL: SUBJECT TO COURT ORDER".
BY THE COURT
Bruce L. LevinJudge of the Superior Court